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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION
WILLIAM MESHEL, M.D.                                 §
     Plaintiff                                       §
                                                     §
VS.                                                  §        CASE NO.: 3:19-CV-181
                                                     §
EAST EL PASO MEDICAL                                 §
SURGICAL CENTER D/B/A                                §
EAST EL PASO PHYSICIANS’                             §
MEDICAL CENTER, LLC,                                 §
                                                     §
SOUTHWEST MEDICAL                                    §
ASSOCIATES, INC.                                     §
Defendants.                                          §

                                        NOTICE OF REMOVAL

        NOW COMES Defendant Southwest Medical Associates, Inc., and files this Notice of

Removal and respectfully shows that:

1.      This removal is pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1441(a), based on the

Court’s federal question jurisdiction. Plaintiff alleges that he was discriminated and retaliated

against by Defendant based upon his age in violation of the Age Discrimination in

Employment Act (29 U.S.C. §621, et seq), and based on disability in violation of the

Americans with Disabilities Act (42 U.S.C. §12101 et seq), as well as asserting the same

claims under state law pursuant to Texas Labor Code Ch. 21. See Plaintiff’s First Amended

Petition, p. 6 - 8.

2.      This action was originally filed in the 327th Judicial District Court of El Paso County,

Texas in Cause No. 2018DCV3246.1 Plaintiff is William Meshel, M.D. Defendants are



1 Plaintiff previously filed an Original Complaint against East EL Paso Physician’s Medical Center, which did not
assert federal claims and which was not served on Defendant Southwest Medical Associates.
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Southwest Medical Associates and East El Paso Medical Surgical Center D/B/A/ East El

Paso Physicians’ Medical Center, LLC. Venue is proper in the United States District Court

for the Western District of Texas, El Paso Division.

3.     Plaintiff’s allegations regarding discrimination and retaliation based on age and

disability raises a federal question under the Age Discrimination in Employment Act

(“ADEA”) (29 U.S.C. §621, et seq), and the Americans with Disabilities Act (“ADA”) (42

U.S.C. §12101 et seq). Additionally, the Court has supplemental jurisdiction over Plaintiff’s

state law claims, which are based on the same set of facts as the federal claims. Thus

removal is proper under 28 U.S.C. § 1441.

4.     Plaintiff’s age and disability discrimination allegations under the ADEA and the ADA

were first asserted in Plaintiffs’ First Amended Petition. The First Amended Petition and

Summons was mailed by certified mail on June 17, 2019 and received by Southwest Medical

Associates on June 24, 2019. Defendant has thirty (30) days in which to remove. Therefore,

this removal is timely.

5.     A true and correct copy of all process and pleadings served upon Defendant in the

state court action is being filed with this notice as required by 28 U.S.C. § 1446(a). Also

attached is a Supplement to JS 44 Civil Cover Sheet.

       ACCORDINGLY, Defendant prays that this cause be removed to the United States

District Court for the Western District of Texas, El Paso Division, pursuant to §1441 of Title

28 of the United States Code.
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                                           Respectfully submitted,


                                           JACKSON & CARTER, PLLC
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                                           Austin, TX 78729
                                           (512) 473-2002 Telephone
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                                           By:    /s/ A. Craig Carter
                                                  A. Craig Carter
                                                  State Bar No. 03908100
                                                  ccarter@jackson-carter.com

                                           ATTORNEY FOR DEFENDANT
                                           SOUTHWEST MEDICAL ASSOCIATES, INC.

                               CONSENT TO REMOVAL

      Defendant East El Paso Medical Surgical Center D/B/A/ East El Paso Physicians’
Medical Center, LLC hereby consents to removal of this case to federal court.

                                           By: /s/ Amanda Williams
                                           Amanda Williams
                                           Jackson Lewis, P.C.
                                           State Bar No. 24065281


                             CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing instrument was delivered to the
following counsel of record as reflected below on July 3, 2019.

Via Facsimile (915)207-1932
Isaac Cordero
Law Office of Isaac Cordero
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Attorney for Plaintiff
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Attorney for Defendant East El Paso Medical Surgical Center


                                              By: /s/ A. Craig Carter
                                              A. Craig Carter
